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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



 Sven Sundgaard,                                          Civ. No. 21-999 (JRT/BRT)

                   Plaintiff,

 v.

 Multimedia Holdings Corporation, et al.,             ORDER FOR PRETRIAL
                                                         CONFERENCE
                Defendants.


       Pursuant to Rule 16(a) of the Federal Rules of Civil Procedure, a pretrial

conference will be held by Zoom video conferencing on June 11, 2021, at 10:00 am,

before United States Magistrate Judge Becky R. Thorson. Chambers will send Zoom

instructions.

       Please read this Order carefully. Prior to the conference, counsel must comply

with the following:

       1. Rule 26(f) Meeting and Report. Meet before the scheduled pretrial
          conference pursuant to Rule 26(f) of the Federal Rules of Civil Procedure and
          Local Rule 26.1. No later than three business days prior to the pretrial
          conference, the parties must prepare and file a joint Rule 26(f) Report in
          compliance with the rules. The parties’ Rule 26(f) Report must include a
          proposed discovery plan as required by Rule 26(f) of the Federal Rules of Civil
          Procedure and Local Rule 26.1. The parties should prepare their proposed plan
          using the attached Rule 26(f) form. The parties are encouraged to include
          additional scheduling or discovery plan proposals tailored to the case. A
          Word version is available at
          http://www.mnd.uscourts.gov/Judges/thorson.shtml. To the extent the parties
          cannot reach agreement on any particular item about scheduling or discovery,
          they should set forth their separate positions in their Rule 26(f) Report for
          discussion at the pretrial conference. A copy of the 26(f) Report should be e-
          mailed to Magistrate Judge Thorson at thorson_chambers@mnd.uscourts.gov
          at the time of the joint filing.
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       2. Settlement Conference and Confidential Settlement Letter. In addition to
          the Rule 26(f) Report, each party must email to Magistrate Judge Thorson’s
          chambers a 1-2 page confidential letter setting forth what settlement
          discussions have taken place and whether the party believes an early settlement
          conference would be productive.

          The scheduling of an all-day settlement conference requires considerable
          advance notice (sometimes several months). If the parties agree to seek an
          early settlement conference, they may jointly contact the Court prior to the
          Rule 16 conference to reserve a date. If a date is reserved, they must include it
          in their 26(f) Report. A notice of settlement conference confirming the date
          will be issued after the Rule 16 conference.

       3. Rule 7.1 Disclosure, If Applicable. Any party that is required to file a
          disclosure statement under Rule 7.1, must ensure that it properly filed. As
          Rule 7.1 provides, a nongovernmental corporate party must file a disclosure
          statement that (1) identifies any parent corporation and any publicly held
          corporation owning 10% or more of its stock or (2) states that there is no such
          corporation. This disclosure statement must be filed with its first appearance,
          pleading, petition, motion, response, or other request addressed to the Court
          and promptly file a supplemental statement if any required information
          changes.

       4. Stipulation for Protective Order. If a protective order is sought, the parties
          must use the form available on the Court’s website under the Court Forms tab,
          in the “Pretrial, Discovery and Trial Forms” section as a starting point for their
          proposed order. See Local Rule 26.1(b)(2). The parties are free to offer
          additional or different proposals; however, they must submit their proposed
          productive order with any proposed changes in redline form.


       Counsel who will be trying the case should be present for the conference and have

authority to discuss all aspects of the 26(f) Report and scheduling conference topics. If

this is not possible, substitute counsel with knowledge about the case and 26(f) Report

should be arranged.

       If a party does not have counsel of record listed in this case, it is the responsibility

of counsel for Plaintiff to (1) immediately notify those parties and counsel of this


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conference, and (2) inform those parties and counsel of the requirements set forth in this

notice.

          Failure of any party or counsel to comply with any part of this notice, including

submission of the Rule 26(f) Report and settlement letter to Magistrate Judge Thorson by

the time specified in this notice may result in the postponement of the pretrial conference,

an imposition of an appropriate sanction on the party, company or attorney who failed to

comply, or both.

          Counsel should contact Magistrate Judge Thorson’s Courtroom Deputy/Judicial

Assistant at 651-848-1210, with respect to any matters concerning the pretrial

conference.



Date: April 23, 2021                                s/ Becky R. Thorson
                                                    BECKY R. THORSON
                                                    United States Magistrate Judge




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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


    Sven Sundgaard,                                            Civ. No. 21-999 (JRT/BRT)

                            Plaintiff,
    v.

    Multimedia Holdings Corporation, et al.,                   RULE 26(f) REPORT 1
                                                                  TEMPLATE
                            Defendants.


   The parties/counsel identified below conferred as required by Fed. R. Civ. P. 26(f)
and the Local Rules, on _______________, and prepared the following report.

   The initial pretrial conference required under Fed. R. Civ. P. 16 and LR 16.2 is
scheduled for ______________, 20____, before United States Magistrate Judge Becky R.
Thorson in Courtroom 6A of the U.S. Courthouse in, St. Paul, Minnesota.

(a) Rule 7.1 Disclosures.

         The parties must comply with Rule 7.1, if applicable:

         (1) For plaintiff: ____ Rule 7.1 does/does not apply.

         (2) For defendant _____Rule 7.1 does/does not apply.

(b) Description of the Case.

         (1) Concise factual summary of plaintiff’s claims:

         (2) Concise factual summary of defendant’s claims/defenses:

         (3) Statement of jurisdiction (including statutory citations):

         (4) Summary of factual stipulations or agreements:



1
       This form is based on the forms found on the Court’s website under the Court
Forms tab, in the “Pretrial, Discovery and Trial Forms” section and is further customized
by Magistrate Judge Thorson. http://www.mnd.uscourts.gov/local_rules/forms/Rule26f-
report-non_patent.pdf
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    (5) Statement of whether a jury trial has been timely demanded by any party:

    (6) Statement as to whether the parties agree to resolve the matter under the Rules of
        Procedure for Expedited Trials of the United States District Court, District of
        Minnesota, if applicable:

(c) Pleadings.

    Statement as to whether all process has been served, all pleadings filed, and any plan
    for any party to amend pleadings or add additional parties to the action:

(d) Discovery of Electronically Stored Information. 2

    The parties have discussed the scope of electronic discovery, including relevance and
    proportionality, and any issues about preserving electronic discovery. The parties
    have also discussed the form or forms in which electronic discovery should be
    produced. They inform the Court of the following agreements or issues:

    The parties will further meet and confer by ____________ to discuss their plan or
    formal protocol for electronic discovery. They agree to present any disputes regarding
    an electronic discovery plan and protocol to the Court by ___________.




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        The Court refers counsel to “Discussion of Electronic Discovery at Rule 26(f)
Conferences: A Guide for Practitioners,” developed by the Federal Practice Committee,
to help attorneys and parties prepare for a meaningful discussion of electronic discovery
issues early in the litigation. The e-Discovery Guide is available on the Court’s website
http://www.mnd.uscourts.gov. If a formal plan or protocol is appropriate, the parties
should: (1) consider whether their plan should be submitted to the Court as a proposed
order; (2) serve early document requests pursuant to Rule 34 to facilitate their discussions
about electronic discovery, or, if early document requests are impracticable, a list of the
types of documents the party will seek in discovery; (3) discuss where discovery sought
is stored, including storage on the party’s premises, data stored by a party using third
party providers (e.g., the “cloud”), storage on devices used by a party (or its employees,
for example) including laptops, smart phones or other personal devices; (4) discuss
whether email or other electronic communications will be sought and identify what
electronic discovery tools or techniques will be applied; and (5) discuss the other topics
relating to electronic discovery set forth in the Federal Rules of Civil Procedure. A plan
or protocol should be clear on how the plan or protocol will operate during the course of
fact discovery to satisfy a party’s obligation to respond to a first and subsequent set of
document requests.


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(e) Fact Discovery.

   The parties should agree on their proposed plan using this form. To the extent that the
   parties cannot reach agreement on any particular item about scheduling or discovery,
   they should set forth their separate positions in their Rule 26(f) Report for discussion
   at the pretrial conference.

   The parties recommend that the Court establish the following fact discovery deadlines
   and limitations:

   (1) The parties must make their initial disclosures under Fed. R. Civ. P. 26(a)(1) on or
       before___________. If the parties plan to disclose documents by a description by
       category and location of documents, they will exchange copies of initial disclosure
       documents on or before _______________.

   (2) The parties must commence fact discovery procedures in time to be completed by
       ___________. The parties will discuss whether a date for the substantial
       production of documents should be set within the fact discovery period, to
       facilitate the taking of depositions.

   (3) The parties have discussed the scope of discovery including relevance and
       proportionality and propose that the Court limit the use and numbers of discovery
       procedures as follows:

      (A) ____________ interrogatories;

      (B) ____________ document requests. The parties understand that objections to
         document requests must meet the requirements of amended Rule 34(b)(2)(B).
         For the parties’ convenience, the Rule is set forth below:

             Rule 34
             (b) PROCEDURE.
                (2) Responses and Objections.
                      (B) Responding to Each Item. For each item or category, the response
                      must either state that inspection and related activities will be
                      permitted as requested or state with specificity the grounds for
                      objecting to the request, including the reasons. The responding party
                      may state that it will produce copies of documents or of electronically
                      stored information instead of permitting inspection. The production
                      must then be completed no later than the time for inspection specified
                      in the request or another reasonable time specified in the response.


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      If the responding party producing copies of documents or copies of electronically
      stored information and the copies are not produced with the responses, another
      reasonable time must be specified in the response. If the requesting party disagrees
      that this is reasonable, the parties must meet and confer to agree on the timetable
      for production.

      (C) ____________ requests for admission. The parties have discussed a protocol
         for the authentication of documents and agree on the following:

      (D) ____________ factual depositions. The parties have discussed the
         geographical location for the depositions and agree on the following:

      (E) The parties have discussed the taking of depositions pursuant to Rule 30(b)(6)
         and present the following agreement:

      The parties should consider whether they should agree on a deadline for serving
         30(b)(6) notices of deposition.

      (F) The parties have discussed Rule 35 medical examinations and agree to
          ______________. The parties must complete any physical or mental
          examinations under Fed. R. Civ. P. 35 by _________.

      (G) ____________ other.

(f) Expert Discovery.

   (1) The parties anticipate that they [will/will not] require expert witnesses at the time
       of trial.

      (A) The plaintiff anticipates calling ______ (number) experts in the fields of:
         ___________________________.

      (B) The defendant anticipates calling ______ (number) experts in the fields of:
          __________________________.

      (C) The parties must meet and confer to confirm the fields (not necessarily the
         identity of the expert witnesses) on or before _______.

   (2) The parties propose that the Court establish the following plan for expert
       discovery:

      The parties must discuss the particular expert needs in the case and then carefully
      tailor their recommended plan for disclosure of experts, service of reports and
      timing of depositions. Three options are provided below:


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   OPTION A:

      (1)    Initial experts.

             (i) The identity of any expert who may testify at trial regarding issues on
                 which the party has the burden of persuasion must be disclosed on or
                 before ____________.

             (ii) The initial expert written report completed in accordance with Fed. R.
                  Civ. P. 26(a)(2)(B) must be served on or before ____________.

      (2)    Rebuttal experts.

             (i) The identity of any experts who may testify in rebuttal to any initial
                 expert must be disclosed on or before __________.

             (ii) Any rebuttal expert’s written report completed in accordance with Fed.
                  R. Civ. P. 26(a)(2)(B) must be served on or before __________.

      (3)    All expert discovery, including expert depositions, must be completed by
             _________. The parties must meet and confer to coordinate expert
             depositions. This conference should immediately follow the disclosure of
             the experts so that all expert depositions can be coordinated and completed
             on time. The parties must inform their experts about the deadlines for
             expert disclosures and depositions in this Scheduling Order.

      (4)    Each side may call up to _____________ experts. Each side may take 1
             deposition per expert.

      OPTION B:

      (1)    The plaintiff anticipates calling up to ___ experts in the fields of
             __________. The defendant anticipates calling up to ____ experts in
             the fields of _________.

      (2)    The identity of Plaintiffs’ experts must be disclosed on or before
             __________________. (Plaintiff’s initial experts)

      (3)    The identity of Defendant’s experts must be disclosed on or before
             __________________. (Defendant’s initial experts)

      (4)    The initial expert written report(s) (Plaintiff’s and Defendant’s),
             completed in accordance with Fed. R. Civ. P. 26(a)(2)(B), must be
             served on or before ____________.


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      (5)    The identity of any experts who may testify in rebuttal to any initial
             expert must be disclosed on or before ______________.

      (6)    Any rebuttal expert written report(s) completed in accordance with
             Fed. R. Civ. P. 26(a)(2)(B) must be served on or before
             ______________________.

      (7)    All expert discovery, including expert depositions, must be
             completed by ______________. The parties must meet and confer to
             coordinate expert depositions immediately following each disclosure
             of experts so that all expert depositions can be coordinated and
             completed on time. The parties must inform their experts about the
             deadlines for expert disclosures and depositions in this Scheduling
             Order.

      (8)    Each side may call up to _____________ experts. Each side may
             take 1 deposition per expert.

      OPTION C:

      (1)    Plaintiff will identify any expert who may testify at trial on behalf of
             Plaintiff and the initial expert written report(s) completed in accordance
             with Fed. R. Civ. P. 26(a)(2)(B) must be served on or before ______.

      (2)    The identity and any expert written rebuttal reports by Defendants to
             Plaintiff’s expert(s) must be served on or before_________________.

      (3)    The identity of any experts (non-rebuttal) who may testify on behalf
             of Defendants and any expert written report(s) completed in
             accordance with Fed. R. Civ. P. 26 (a)(2)(B) must be served on or
             before _______________.

      (4)    The identity and any expert written rebuttal reports by Plaintiff to
             Defendants’ (non-rebuttal) expert(s) must be served on or before
             ________________.

      (5)    All expert discovery, including expert depositions, must be
             completed by __________. The parties must meet and confer to
             coordinate expert depositions. This conference should immediately
             follow the disclosure of the experts so that all expert depositions can
             be coordinated and completed on time. The parties must inform their
             experts about the deadlines for expert disclosures and depositions in
             this Scheduling Order.



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      (6)    Each side may call up to ___________ experts. Each side may take 1
             deposition per expert.

(g) Proposed Motion Schedule.

   The parties propose the following deadlines for filing motions:

  (1) Motions seeking to join other parties must be filed and served by _________. The
      parties are aware that they must diligently pursue any investigation or discovery
      using the appropriate discovery tools available to meet this deadline.

  (2) Motions seeking to amend the pleadings must be filed and served by _________.
      The parties are aware that they must diligently pursue any investigation or discovery
      using the appropriate discovery tools available to meet this deadline.

  (3) [ONLY IF APPLICABLE] Motions seeking an amendment of the pleadings to
      add punitive damages must be filed and served by ___________________.

  (4) Non-dispositive motions.

      OPTION A:

      All other non-dispositive motions must be filed and served by_____________. The
      parties must meet and confer to resolve fact discovery disputes when they arise, and
      if unresolved, bring discovery disputes promptly to the Court’s attention.

      OPTION B:

      (1)    All non-dispositive motions relating to fact discovery must be filed and
             served by _______________.

      (2)    All other non-dispositive motions, including motions relating to expert
             discovery, must be filed and served by _______________.

  (5) Dispositive Motions.

      All dispositive motions must be filed and served by ____________.

(h) Protective Order

   The parties have discussed whether they believe that a protective order is necessary to
   govern discovery and jointly submit a [proposed] protective order/report identifying
   areas of disagreement.


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   The parties [may/intend] to seek the entry of a protective order.

   The parties will start with the form available on the Court’s website under the Court
   Forms tab in the “Pretrial, Discovery and Trial Forms” section as a base template for
   their proposed protective order.
   http://www.mnd.uscourts.gov/local_rules/forms/Stipulation-for-Protective-Order-
   Form.pdf. The parties understand that they may tailor a proposed protective order to
   their case and will redline suggested modifications to the form.

(i) Claims of Privilege or Protection.

   The parties have discussed issues regarding the protection of information by a privilege
   or the work-product doctrine, as required by Fed. R. Civ. P. 26(f)(3)(D), including
   whether the parties agree to a procedure to assert these claims after production or have
   any other agreements under Fed. R. Evidence 502:

  (1) Request the Court to include the following agreement in the scheduling order; or

  (2) Will include their agreement in their proposed Protective Order.

(j) Trial-Ready Date.

  (1) The parties agree that the case will be ready for trial on or after ___________

  (2) The anticipated length of the [select one – bench or jury] trial is ________ days.

(k) Insurance Carriers/Indemnitors.

   List all insurance carriers/indemnitors, including limits of coverage of each defendant
   or statement that the defendant is self-insured.

(l) Settlement.

   (1) Counsel must meet before the scheduled pretrial conference pursuant to Rule 26(f)
       of the Federal Rules of Civil Procedure and Local Rule 26.1 to discuss settlement.
       No later than three business days prior to the pretrial conference, the parties must
       prepare and file a joint Rule 26(f) Report in compliance with the rules. Please e-
       mail a copy to Magistrate Judge Thorson at thorson_chambers@mnd.uscourts.gov.
       In addition, the parties must send Magistrate Judge Thorson a confidential letter
       setting forth what settlement discussions have taken place, whether the party
       believes and early settlement conference would be productive and when it should
       occur, and what discovery, if any, the party believes would be necessary to conduct
       before such a conference. The Court will discuss this topic with the parties at the
       pretrial conference and will set a date for an early settlement conference or for a


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      status conference to determine when the case will be ready for a productive
      settlement conference.

   (2) The parties propose that a settlement conference be scheduled to take place before
       ____________.

   (3) The parties have discussed whether other alternative dispute resolution will be
       helpful to the resolution of this case and recommend the following:

(m) Trial by Magistrate Judge.

    The parties [have/have not] agreed to consent to jurisdiction by the Magistrate Judge
    under 28 U.S.C. § 636(c). (If the parties agree to consent, file the consent with the
    Rule 26(f) Report.)

 DATE: __________________          ____________________________________
                                   Plaintiff’s Counsel
                                   License #
                                   Address
                                   Phone #

 DATE: __________________          ____________________________________
                                   Defendant’s Counsel
                                   License #
                                   Address
                                   Phone #




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